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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



 AKILAH HUGHES,
                                Plaintiff,

          -v-
                                                             No. 17-cv-6493 (RJS)
                                                         JUDGMENT OF FEES & COSTS
 CARL BENJAMIN a/k/a Sargon of Akkad, JOHN
 DOES 1–10, inclusive,

                                Defendants.



RICHARD J. SULLIVAN, Circuit Judge:

         For the reasons set forth in the Court’s opinion and order dated August 4, 2020 (Doc.

No. 52), IT IS HEREBY ORDERED THAT judgment is entered in favor of Defendant Carl

Benjamin and against Plaintiff Akilah Hughes in the amount of $38,785.35 in attorney’s fees and

$126.54 in costs, for a total of $38,911.89.



SO ORDERED.

Dated:          October 9, 2020
                New York, New York
                                                   ___________________________
                                                   RICHARD J. SULLIVAN
                                                   UNITED STATES CIRCUIT JUDGE
                                                   Sitting by Designation
